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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY
                            Minutes of Proceedings

  OFFICE:   Trenton

  JUDGE Hon.   Peter G.    Sheridan                Date:   July 19,   2021

  Court Reporter:     Frank Gable

  TITLE OF CASE:                                   CIVIL 10-1138      (PGS)
  SAM HARGROVE, et al

      vs.

  SLEEPY’S LLC

  APPEARANCES:

  (See Record for list of appearance)

  NATURE OF PROCEEDINGS:
  Hearing on Motion    [279] by Sleepy’s LLC for Judgment on the
  Pleadings Ant to Dismiss the Amended Complaint for Lack of Subject
  Matter Jurisdiction.
  Ordered motion reserved.

  Hearing on motion [280] BY Sleepy’s LLC for Default Judgment as to
  Rule 55(b) (2) of the Federal Rules of Civil Procedure.
  Ordered motion reserved.

  Hearing on motion   [281] by          Marco   Eusebo,    Andre   Hall   and   Sam
  Hargrove for Remove Default.
  Ordered motion reserved.

  Hearing on motion    [297] by         Marco   Eusebi,    Andre   Hall   and   Sam
  Hargrove to Certify Class.
  Ordered motion reserved.

  TIME COMMENCED:         11 :30 a m.
                                  .



  TIME ADJOURNED:          1:00 p.m.              s/Dolores J. Hicks
  TOTAL TIME:              1:30                        Deputy Clerk
